













Opinion issued June 26, 2008








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-08-00232-CV
____________

ELBAR INVESTMENTS, INC., Appellant

V.

TIMOTHY O’BIER, EILEEN O’BIER, CHERYLE JOHNSTON, AND
PROSPERITY BANK, Appellees




On Appeal from the 309th District Court
Harris County, Texas
Trial Court Cause No. 2005-63163




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has filed an unopposed motion to dismiss its appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Justices Taft, Jennings, and Bland.


